                                         Case 4:19-cv-05553-YGR Document 121 Filed 07/09/21 Page 1 of 1




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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     ELASTICSEARCH, INC., et al.,                         Case No. 19-cv-05553-YGR (AGT)
                                                        Plaintiffs,
                                   8
                                                                                              DISCOVERY ORDER
                                                 v.
                                   9
                                                                                              Re: Dkt. Nos. 115, 116
                                  10     FLORAGUNN GMBH,
                                                        Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          As discussed at today’s discovery hearing, the Court will allow Elastic the opportunity to

                                  14   further develop the record with respect to the unavailability and recent termination of floragunn’s

                                  15   Chief Technology Officer Hendrik Saly. By July 26, 2021, floragunn shall file a declaration

                                  16   describing (1) all communications involving Saly and his potential return to work at floragunn in

                                  17   January and/or February 2021, and (2) the circumstances of Saly’s recent termination from

                                  18   floragunn. The declaration may be filed under seal and must also include any documentation

                                  19   regarding Saly’s termination. By August 2, 2021, Elastic may submit under seal a letter brief

                                  20   addressing floragunn’s declaration and whether further discovery is required prior to the Court

                                  21   ruling on Elastic’s sanctions request at Dkt. 101-3.

                                  22          IT IS SO ORDERED.

                                  23   Dated: July 9, 2021

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                                                                                                     ALEX G. TSE
                                  26                                                                 United States Magistrate Judge
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